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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

ORNATE AEC Wray oe

UNITED STATES OF AMERICA
Case No. 4 - ator - e

Vv.

FLORENCIO “LENCHO” RENDON

GN MN LP LN Lr LN Wr

Defendant.

PLEA AGREEMENT

The United States of America, by and through the undersigned attorneys for the United
States Department of Justice, Criminal Division, Public Integrity Section; the undersigned
attorneys for the United States Department of Justice, National Security Division,
Counterintelligence and Export Control Section; and the Defendant, Florencio “Lencho” Rendon
(“Defendant”), and Defendant’s counsel, Craig Tobin, pursuant to Rule 11(c)(1)(A) and
11(c)(1)(B) of the Federal Rules of Criminal Procedure, state that they have entered into an
agreement, the terms and conditions of which are as follows:
Defendant’s Agreements
1. Defendant agrees to plead guilty to the Information. The Information charges
Defendant with conspiracy to commit money laundering, in violation of Title 18, United States
Code, Section 1956(h). Defendant, by entering this plea, agrees that he is waiving any right to
have the facts that the law makes essential to the punishment proven to a jury or a judge beyond a
reasonable doubt. Defendant also waives any challenge to venue in this district.
Punishment Range
2. The statutory maximum penalty for a violation of Title 18, United States Code,

Section 1956(h) is a term of imprisonment of not more than twenty years and a fine of not more
than $500,000 or twice the value of the property involved in the transaction, whichever is greater.
See 18 U.S.C. §§ 1956(a), 1956(h). Additionally, Defendant may receive a term of supervised
release after imprisonment of up to three years. See 18 U.S.C. $§ 3559(a)(3), 3583(b)(2).
Defendant acknowledges and understands that if he should violate the conditions of any period of
supervised release which may be imposed as part of his sentence, then Defendant may be
imprisoned for no more than two years, without credit for time previously served on post-release
supervision. See 18 U.S.C. §§ 3559(a)(3), 3583(e)(3). Defendant understands that he cannot have
the imposition or execution of the sentence suspended, nor is he eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order payable to the Clerk of the United States District Court, c/o District
Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

: Immigration Consequences

4, Defendant recognizes that pleading guilty may have consequences with respect to
his immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleadirig guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant’s attorney
has advised Defendant of the potential immigration consequences resulting from Defendant’s plea

of guilty, and Defendant affirms that he wants to plead guilty regardless of any immigration
consequences that may result from the guilty plea and conviction.
Cooperation

5. The parties understand this Plea Agreement carries. the potential for a motion for
departure under Section 5K1.1 of the United States Sentencing Guidelines. Defendant understands
and agrees that whether such a motion is filed will be determined solely by the United States.
Should Defendant’s cooperation, in the sole judgment and discretion of the United States, amount
to “substantial assistance,” the United States reserves the sole right to-file a motion for departure
pursuant to Section 5K1.1 of the Sentencing Guidelines. Defendant further agrees to persist in
that plea through sentencing, and fully cooperate with the United States. Defendant understands
and agrees that the United States will request that sentencing be deferred until that cooperation is
complete.

6. Defendant understands and agrees that the term “fully cooperate,” as used herein,
includes providing all information relating to any criminal activity known to Defendant—
including, but not limited to, conspiring to launder proceeds of a criminal activity, namely bribery.
Defendant understands that such information includes both state and federal offenses arising
therefrom. In that regard:

(a) Defendant agrees that this Plea Agreement binds only the United States
Department of Justice, Criminal Division, Public Integrity Section; United
States Department of Justice, National Security Division,
Counterintelligence and Export Control Section; and Defendant, and that it
does not bind any other United States Attorney or other component or unit
of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in
any other judicial or administrative proceeding when called upon to do so
by the United States. Defendant further agrees to waive his Fifth

Amendment privilege against self-incrimination for the purpose of this
Agreement;
(c) - Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

(d) Defendant agrees to provide truthful, complete, and accurate information
and testimony and understands any false statements made by Defendant to
the grand jury or at any court proceeding (criminal or civil), or to a
government agent or attorney, can and will be prosecuted under the
appropriate perjury, false statement, or obstruction statutes;
(e) At the Government’s specific request, Defendant agrees to provide to the
United States all documents in his possession or under his control relating
to all areas of inquiry and investigation; and
(f) Should the recommended departure, if any, not meet Defendant’s
expectations, Defendant understands that he remains bound by the terms of
this Plea Agreement and that he cannot, for that reason alone, withdraw his
plea.
Waiver of Appeal and Collateral Review
7. Defendant is aware that Title 28, United States Code, Section 1291, and Title 18,
United States Code, Section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255, affords
the right to contest or “collaterally attack” a conviction or sentence after the judgment of conviction
and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal
or “collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, Section 2255. In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this Plea Agreement
and seek specific performance of these waivers.

8. Defendant also agrees that should the conviction following Defendant’s plea of

guilty pursuant to this Agreement be vacated for any reason, then any prosecution that is not time-
barred by the applicable statute of limitations on the date of the signing of this agreement
(including any counts that the United States has agreed to dismiss at sentencing pursuant to this
Agreement) may be commenced or reinstated against Defendant, notwithstanding the expiration
of the statute of limitations between the signing of this Agreement and the commencement or
reinstatement of such prosecution. It is the intent of this Agreement to waive all defenses based
on the statute of limitations with respect to any prosecution that is not time-barred on the date that
this Agreement is signed.

9. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he may have received from his counsel, the United
States, or the Probation Office, is a prediction and not a promise; did not induce his guilty plea;
and is not binding on the United States, the Probation Office, or the Court. The United States does
not make any promise or representation concerning what sentence Defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are not
binding on the Court. See United States v. Booker, 543 U.S..220, 245 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must
take them into account when sentencing Defendant, the Court is not bound to follow the Sentencing
Guidelines nor sentence Defendant within the calculated Guidelines range.

10. Defendant understands and agrees that each and all waivers contained in this Plea
Agreement are made in exchange for the concessions made by the United States in this Plea
Agreement.

The United States’ Agreements

1]. If Defendant pleads guilty to the Information and persists in that plea through
sentencing, and if the Court accepts this Plea Agreement, the United States will not further
prosecute the defendant for any crimes described in the attached factual basis or for any conduct
of the defendant now known to the United States Department of Justice, Criminal Division, Public
Integrity Section; and the United States Department of Justice, National Security Division,
Counterintelligence and Export Control Section. This agreement does not provide any limitation
of liability arising out of any acts of violence.
Agreement Binding on Parties to Agreement Only

12. The United States Department of Justice, Criminal Division, Public Integrity
Section; and the United States Department of Justice, National Security Division,
Counterintelligence and Export Control Section; agree that they will not further criminally
prosecute Defendant for the specific conduct described in the Information. This plea agreement
binds only the United States Department of Justice, Criminal Division, Public Integrity Section;
the United States Department of Justice, National Security Division, Counterintelligence and
Export Control Section; and Defendant. It does not bind any other United States Attorney or any
other component of the Department of Justice. The Department of Justice, Criminal Division,
Public Integrity Section; and the United States Department of Justice, National Security Division,
Counterintelligence and Export Control Section; will bring this Plea Agreement and the full extent
of Defendant’s cooperation to the attention of other prosecuting offices, if requested. —

United States’ Non-Waiver of Appeal

13. The United States reserves the right to carry out its responsibilities under the

Sentencing Guidelines. Specifically, the United States reserves the right to:
(a) Bring its version of the facts of this case, including any evidence in the files

of any investigative agency, to the attention of the Probation Office in
connection with that office’s preparation of a presentence report;
(b) Set forth or dispute sentencing factors or facts material to sentencing;

(c) Seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Office;

(d) File a pleading relating to these issues, in accordance with Section 6A1.2 of
the Sentencing Guidelines and Title 18, United States Code,
Section 3553(a); and
(ec) Appeal the sentence imposed or the manner in which it was determined.
Sentence Determination
14. Defendant is aware that the sentence will be imposed after consideration of the
Sentencing Guidelines and Policy Statements, which are only advisory, as well as the provisions
of Title 18, United States Code, Section 3553(a). Defendant nonetheless acknowledges and agrees
that the Court has authority to impose any sentence up to and including the statutory maximum set
for the offense to which Defendant pleads guilty, and that the sentence to be imposed is within the
sole discretion of the sentencing judge after the Court has consulted the applicable Sentencing
Guidelines. Defendant understands and agrees that the parties’ positions regarding the application
of the Sentencing Guidelines do not bind the Court and that the sentence imposed is within the
‘discretion of the sentencing judge. If the Court should impose any sentence up to the maximum
established by statute, Defendant cannot, for that reason alone, withdraw a guilty plea, and will
remain bound to fulfill all of the obligations under this Plea Agreement.
15. The United States and Defendant agree to the following regarding the Sentencing
Guidelines applicable to Defendant’s Guidelines range:

(a) The Sentencing Guidelines do not bind the Court and are advisory in nature.
The Court may impose a sentence that is either above or below Defendant’s
applicable Guidelines range, provided the sentence imposed is not
“unreasonable.”

(b) Defendant consents to judicial fact-finding by a preponderance of the
evidence for all issues pertaining to the determination of Defendant's
(c)

(d)

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sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the
normal statutory maximum. Defendant waives any right to a jury
determination beyond a reasonable doubt of all facts used to determine and
enhance the sentence imposed, and waives any right to have those facts
alleged in the information. Defendant also agrees that the Court, in finding
the facts relevant to the imposition of sentence, may consider any reliable
information, including hearsay.

Defendant understands and agrees that the factual admissions contained in
paragraphs 18-59 of this Plea Agreement, and any admissions that he will
make during his plea colloquy, will be used to calculate Defendant’s
Guidelines range. .

If the Court determines that Defendant qualifies for an adjustment under
U.S.S.G. § 3E1.1(a), and the offense level prior to operation of § 3E1.1(a)
is 16 or greater, the United States will move under § 3E1.1(b) for an
additional one-level reduction because Defendant timely notified
authorities of his intent to plead guilty, thereby permitting the United States
to avoid preparing for trial and permitting the United States and the Court
to allocate their resources more efficiently.

The parties understand, acknowledge and agree that there are no agreements
between the parties with respect to any Sentencing Guidelines issues other
than those specifically listed in paragraph 15 and its subsections. As to any
other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

The United States and Defendant agree that the United States or Defendant may

assert at sentencing and recommend to the Probation Office that Guideline enhancements or

adjustments beyond the Guidelines set forth above do or do not apply.

Rights at Trial

Defendant understands that by entering into this Agreement, he surrenders certain

include the following:

(a)

rights as provided in this Plea Agreement. Defendant understands that the rights of a defendant

If Defendant persisted in a plea of not guilty to the charges, Defendant
would have the right to a speedy jury trial with the assistance of counsel.
18.

(b)

(©)

(d)

The trial may be conducted by a judge sitting without a jury if Defendant,
the United States, and the Court all agree.

Ata trial, the United States would be required to present witnesses and other
evidence against Defendant. Defendant would have the opportunity to
confront those witnesses, and his attorney would be allowed to cross-
examine them. In turn, Defendant could, but would not be required to,
present witnesses and other evidence on his own behalf. If the witnesses
for Defendant would not appear voluntarily, he could require their
attendance through the subpoena power of the Court.

At atrial, Defendant could rely on a privilege against self-incrimination and
decline to testify, and no inference of guilt could be drawn from such refusal
to testify. But if Defendant desired to do so, he could testify on his own
behalf.

As part of this plea agreement, and based upon the concessions of the United
States in this plea agreement, Defendant knowingly, willingly, and
voluntarily gives up the right to seek any additional discovery. Further,
Defendant knowingly, willingly, and voluntarily waives all pending
requests for discovery.

Factual Basis for Guilty Plea

Introduction

Defendant FLORENCIO “LENCHO” RENDON was a businessman residing in

San Antonio, Texas. Since approximately 2006, he has owned and operated two consulting

companies, Rendon Company | and Rendon Company 2. RENDON previously served as Chief

of Staff to a Member of Congress for approximately 24 and a half years.

19.

Co-Conspirator | is an elected, federal public official who meets the definition of

a “public official” in 18 U.S.C. § 201(a)(1).

20.

Co-Conspirator 2 is the spouse of Co-Conspirator 1. Co-Conspirator 2 owned and

controlled CC2 Company 1, a limited liability company formed under the laws of the State of

Texas.

21.

Co-Conspirator 3 operated a political consulting company. Co-Conspirator 3
previously served as campaign manager for Co-Conspirator 1.

22.  Co-Conspirator 4 is a Mexican national and public official in Mexico.
23.  Co-Conspirator 5 is a Mexican national and was a high-level executive of Financial
Institution 1.

24. Financial Institution 1 is a bank based in Mexico. Financial Institution 1 had an
interest in U.S. regulation of the financial services industry, particularly U.S. regulation of cross-
border financial transactions. In Co-Conspirator 1’s capacity as an elected public official, Co-
Conspirator 1 was in a position to influence regulatory matters that affected Financial Institution
1’s business.

25.  Co-Conspirator 6 is an adult child of Co-Conspirator 1 and Co-Conspirator 2. Co-
Conspirator 6 owned and controlled CC6 Company 1.

26. CC6 Company 1 is a limited liability company formed in 2021 under the laws of
the State of Texas.

27. Affiliate 1 was a corporation formed under the laws of the State of Delaware that
was affiliated with Financial Institution 1 through common ownership under a Mexican
conglomerate.

The Sham Consulting Contract

28. On October 13, 2015, RENDON traveled to Mexico City, Mexico, to attend a
conference. Co-Conspirator 1 also attended the conference. On October 14, 2015, Co-
Conspirator 1 invited RENDON to breakfast at a hotel in Mexico City. Co-Conspirator 1 told
RENDON that there was an opportunity to enter a consulting contract with Financial Institution 1
relating to banking. Co-Conspirator 1 indicated that if RENDON was interested, Co-Conspirator 1

would arrange for RENDON to meet with Co-Conspirator 5 to discuss the potential contract.

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RENDON agreed.

29. | RENDON and Co-Conspirator 5 subsequently spoke on the phone and scheduled a
breakfast meeting for the following morning. RENDON informed Co-Conspirator 1 that he was
planning to meet with Co-Conspirator 5.

30. On October 16, 2015, RENDON and Co-Conspirator 5 met for breakfast. Co-
Conspirator 5 explained to RENDON that U.S. regulatory issues were making it difficult for
Financial Institution 1 to enter a correspondent banking relationship with a U.S. bank to facilitate
remittances, meaning the transfer of money from Mexican workers in the United States to their
relatives in Mexico.

31. | Co-Conspirator 5 said that Financial Institution 1 needed assistance finding a U.S.

bank that would agree to do business with it. RENDON indicated that he lacked expertise in
banking regulation but referred Co-Conspirator 5 to another individual to assist with regulatory
issues. Later that day, RENDON returned to the United States.

32. From October 19 to 22, 2015, RENDON visited Mexico City again. On October
21, 2015, RENDON met Co-Conspirator 5 at a restaurant in Mexico City, where they discussed
RENDON entering into a contract with the Financial Institution 1.

33. On October 30, 2015, RENDON, Co-Conspirator 5 and several Financial
Institution 1 executives met at Financial Institution 1’s offices.in Mexico City. At the meeting,
the Financial Institution 1 executives discussed Financial Institution 1°s remittance business and
its need for relationships with bigger banks in the United States.

34, On October 31, 2015, RENDON departed Mexico. The same day, RENDON
emailed himself a series of photographs of a draft contract, which Co-Conspirator 5 had shown

RENDON during one of their meetings in Mexico City. The draft contract pictured in the

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photographs was titled “Consulting Agreement” and stated that it was effective June 1, 2015. On
the first page of the contract, the name of the “Consultant” was not filled in. However, in the
signature block on the final page of the draft contract, the “Consultant” was listed as CC2
Company 1, a company owned by Co-Conspirator 2, the spouse of Co-Conspirator 1. The
counterparty to the contract, and the purported recipient of consulting services, was Affiliate 1, a
U.S.-based media and television company that was affiliated with Financial Institution 1 through
common ownership under a Mexican conglomerate. The draft contract provided that Affiliate 1
would pay the Consultant a “retainer fee” of $12,000 per month for a period of two years in
exchange for “strategic consulting and advising services.” It also provided for a schedule of |
“success fees” that would be paid “if [Affiliate 1] is successful in reaching the agreed upon goals
within” certain time periods after the effective date of the contract.

35. On November 15, 2015, RENDON met Co-Conspirator 1 for breakfast in Laredo,
Texas. At the meeting, Co-Conspirator 1 and RENDON discussed the Financial Institution 1
contract. Co-Conspirator 1 inquired how much money RENDON would be making under the
contract. RENDON told Co-Conspirator 1 that negotiations were ongoing, but that RENDON
expected to make approximately $12,000 per month.

36. At the breakfast meeting between RENDON and Co-Conspirator 1 on November
15, 2015, Co-Conspirator 1 directed Rendon to pay his spouse, Co-Conspirator 2, proceeds from
the agreement with Financial Institution 1. Co-Conspirator 1 initially directed RENDON to pay
Co-Conspirator 2 under the guise of hiring her in relation to the contract. RENDON declined and
explained to Co-Conspirator 1 that RENDON did not believe it was a good idea for him to make
the payments to Co-Conspirator 1’s spouse directly.

37.  Co-Conspirator 1 then suggested that RENDON pay Co-Conspirator 3 in relation

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to the contract with Financial Institution 1 and that Co-Conspirator 3 would then, in turn, make
payments to Co-Conspirator 1’s spouse, Co-Conspirator 2. RENDON agreed to the payment.
scheme proposed by Co-Conspirator 1.

38. | Co-Conspirator 1 then explained to RENDON that his spouse, Co-Conspirator 2,
would be paid $10,000 per month from the $12,000 per month contract price, and RENDON and
Co-Conspirator 3 would each get $1,000 per month. Co-Conspirator 1 also told RENDON that
they would need to “take care of’ Co-Conspirator 4 for his role in facilitating the agreement with
Financial Institution 1.

39. In response to Co-Conspirator 1’s directions, RENDON stated that he wanted more
than $1,000 per month. Co-Conspirator 1 told RENDON to negotiate with Co-Conspirator 5
regarding raising the contract price to $15,000 per month, so that RENDON could keep more than
$1,000 per month.

40. During Co-Conspirator 1’s entire discussion with RENDON regarding the creation
of the contract with Financial Institution 1, and specifically the payments that would be made to
Co-Conspirator 1’s spouse, Co-Conspirator 2, there was no discussion about any work that either
RENDON, Co-Conspirator 2, or Co-Conspirator 3 would perform in relation to the contract with
Financial Institution 1. RENDON understood during his discussions with Co-Conspirator 1 that
the contract was a sham consulting contract. RENDON further understood that the agreement with
Financial Institution 1, and the payment scheme outlined by Co-Conspirator 1, was a means for
Financial Institution 1 to funnel money to Co-Conspirator 1.

41. Following the November 15, 2015, breakfast meeting, RENDON again met with
Co-Conspirator 5 and requested that Co-Conspirator 5 increase the monthly contract fee amount

- to $15,000. Co-Conspirator 5 agreed. On November 26, 2015, Co-Conspirator 5 emailed

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RENDON a new version of the contract with the monthly retainer fee changed to $15,000.

42. On December 17, 2015, RENDON signed the contract. The final version of the
contract listed Rendon Company 1 as the “Consultant.” It provided that Affiliate 1 would pay
Rendon Company 1 $15,000 per month for a period of two years, effective January 1, 2016, in
exchange for “strategic consulting and advising services.” It also contained the schedule of
“success fee[s],” with the amounts slightly lowered from the October 31, 2015 draft.

43. OnJ anuary 11, 2016, representatives of Affiliate 1 countersigned the contract.

44. On February 1, 2018, RENDON and representatives of Affiliate 1 signed an
agreement extending the contract by one year, such that it would extend through December 31,
2018.

Payments Flowing from Affiliate 1, through RENDON, to Co-Conspirator 3

45. Beginning in February 2016, Rendon Company 1 sent invoices to Affiliate 1 in the
amount of $15,000 per month. The invoices purported to be for strategic consulting services. For
example, the invoice dated February 12, 2016, sent from Rendon Company 1 to Affiliate 1,
contained the following “Description” of the invoiced amount: “January 2016 Consulting Fees for
strategic consulting and advising services as per contract effective January 1, 2016.”

46. From February 22, 2016, through January 9, 2019, Rendon Company 1 received
payments of $15,000 on an approximately monthly basis from Affiliate 1, totaling $540,000, as

follows:

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Date .|M -Amoun

2/22/2016 $30,000

3/15/2016 | Wire | $15,000 “TRENDON COMPANY 1] MARCH INVOICE-1166”

4/7/2016 | Check | $15,000 “INV#1168”

4/26/2016 | Wire | $15,000 “TRENDON COMPANY 1] INVOICES 1168”
6/17/2016 | Wire | $15,000 “[RENDON COMPANY 1] INVOICES 1170”
7/15/2016 | Wire | $15,000 “TRENDON COMPANY 1] INVOICE 1172”

9/6/2016 | Wire | $15,000 “TRENDON COMPANY I] INVOICE 1173”
9/22/2016 | Wire | $15,000 “[RENDON COMPANY 1] SEPT INVOICE 1174”

11/1/2016 | Wire | $30,000 “[RENDON COMPANY 1] INVOICE 1175, 1176”

12/8/2016 | Wire | $15,000 “TRENDON COMPANY 1] DEC INVOICE 1181”

2/1/2017 | Wire | $15,000 “[TRENDON COMPANY 1] JAN INVOICE 1184”
2/22/2017 | Wire | $15,000 “TRENDON COMPANY 1] FEB INVOICE 1185”
3/21/2017 | Wire | $15,000 “[RENDON COMPANY 1] INVOICE 1186”
4/13/2017 | Wire | $15,000 “[RENDON COMPANY 1] APRIL INVOICE 1190”
5/24/2017 | Wire | $15,000 “TRENDON COMPANY 1] INVOICE 1191”

6/7/2017 | Wire | $15,000 “[RENDON COMPANY 1] JUNE INVOICE 1192”
7/27/2017 | Wire | $15,000 “TRENDON COMPANY 1] INVOICE 1195” & “JULY

CONSULTING FEES”

9/12/2017 | Wire | $30,000 “AUG, SEPT INVOICES INV 1196-1197”
10/19/2017} Wire | $15,000 “[RENDON COMPANY 1] INVOICE 1204”

11/7/2017 | Wire | $15,000 “TRENDON COMPANY 1] INVOICE 1205”
12/15/2017 | Wire | $15,000 “[TRENDON COMPANY 1] DEC INVOICE 1206”
2/21/2018 | Wire | $30,000 “[RENDON COMPANY 1] INVOICES 1207,1208”
3/16/2018 | Wire | $15,000 “[RENDON COMPANY. 1] INVOICE 1209”
3/22/2018 | Wire | $15,000 “TRENDON COMPANY I] INVOICE 1209”
5/22/2018 | Wire | $15,000 “INVOICE 1211”

6/4/2018 | Wire | $15,000 “INVOICE 1212”

7/13/2018 | Wire | $15,000 “JULY INVOICE 1213”

8/10/2018 | Wire | $15,000 “TRENDON COMPANY 1] INVOICE 1214”
9/10/2018 | Wire | $15,000 _ “fRENDON COMPANY 1] INVOICE 1215”
10/16/2018 | Wire | $15,000 “[RENDON COMPANY 1] INVOICE 1216”
11/23/2018 | Wire | $15,000 “TRENDON COMPANY 1] INVOICE 1217”

1/9/2019 | Wire | $15,000 “[RENDON COMPANY 1] INVOICE 1218”
TOTAL. [$540,000 Pe

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47. Neither RENDON nor Rendon Company 1 provided any services to Affiliate 1 or
Financial Institution 1 in exchange for these payments.

48. Rather, from March 24, 2016, through December 27, 2017, pursuant to his
agreement with Co-Conspirator 1, RENDON used the funds that Rendon Company | received
from Affiliate 1 to make payments of $11,000 to Co-Conspirator 3 on an approximately monthly
basis, totaling $242,000. Rendon Company 1 retained the remaining $4,000 per month of the
funds that it received from Affiliate 1.

49. | RENDON understood that, of the $11,000 per month that his businesses paid to
Co-Conspirator 3, Co-Conspirator 3 paid approximately $10,000 per month to Co-Conspirator 1
through payments made to CC2 Company 1, the company owned and controlled by Co-
Conspirator 1’s spouse, Co-Conspirator 2. To RENDON’s knowledge, Co-Conspirator 2 did not
provide any services in exchange for the payments routed from RENDON through Co-
Conspirator 3.

50. On multiple occasions, Co-Conspirator 1 messaged RENDON with words to the
effect of, “[Co-Conspirator 2’s Initials] asking.” RENDON understood these messages to mean
that Co-Conspirator | was inquiring about the status of the payments being made to his spouse,
Co-Conspirator 2.

51. In late 2017 or early 2018, Co-Conspirator 1 told RENDON to stop making
monthly payments to Co-Conspirator 3. Accordingly, although RENDON continued to receive
monthly payments from Affiliate 1, RENDON paused the monthly payments that he had been
making to Co-Conspirator 3. RENDON understood that he remained obligated to eventually pay
Co-Conspirator 1 $10,000 of every monthly payment he continued to receive from Affiliate 1.

59 In March 2018, Co-Conspirator 1 asked RENDON to try making additional

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payments to Co-Conspirator 3, in an effort to get the funds to Co-Conspirator 2. RENDON made
three additional payments to Co-Conspirator 3 in the amounts of $7,000, $5,000, and $7,000. After
the final payment of $7,000, Co-Conspirator 1 instructed RENDON to “cut it off,” which
RENDON understood to mean to stop making payments to Co-Conspirator 3.

53. In total, Rendon Company 1 and Rendon Company 2 paid $261,000 to Co-

Conspirator 3, as detailed below:

3/24/2016 | Check | $22,000 [Lubricant Company 1]
Consulting”
4/8/2016 | Check | $11,000 “Monthly Consulting Fee”
6/3/2016 Check | $11,000 , “March Services”
6/3/2016 Check | $11,000 “April Services”
7/14/2016 | Check | $11,000 “June [Lubricant Company 1]”
8/8/2016 Check | $11,000 “July Payment [Lubricant Company
1] Project”
9/14/2016 | Check |} $11,000 “August”
10/20/2016 | Check | $11,000 | ee at Company 1]
12/8/2016 | Check | $11,000 “Nov”
12/20/2016 | Check | $11,000 ‘Dec Invoice Consulting”
2/13/2017 | Check } $11,000 | _ “Jan Payment per Contract”
3/20/2017 | Check | $11,000 “Feb Payment”
4/17/2017 | Check | $11,000 “March”
5/29/2017 | Check | $11,000 “Apr. Payment”
6/28/2017 | Check | $11,000 “May”
8/7/2017 Check | $11,000 | “June”
9/7/2017 Check | $11,000 “July 2017”
| 9/22/2017 | Check | $11,000 “Aug”
10/16/2017 | Check | $11,000 “Sept”
12/15/2017 | Check | $11,000 “Nov”
12/27/2017 | Check | $11,000 “Dec”

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was owed. At one point, Co-

3/20/2018 | Check | $7,000

“Jan (Petro project”

3/26/2018 | Check | $5,000 .

“Jan Final — Lubricant Project”

6/11/2019 | Check | $7,000

“Consult”

TOTAL | $261,000

Payments to Co-Conspirator 4

54. From the outset of the Financi

al Institution 1 contract, Co-Conspirator 1 told

RENDON that Co-Conspirator 4 needed to be paid because he “brought the. deal to the table.”

Approximately nine months after RENDON began receiving money from Affiliate 1, Co-

Conspirator 4 began to call and text RENDON regarding the money Co-Conspirator 4 believed he

Conspirator 4 through Co-Conspirator 4’s sp

Conspirator 4 asked RENDON to make payments to Co-

ouse’s bank account, but RENDON never did.

55. RENDON eventually made approximately two payments totaling approximately

$7,000 to $9,000 to Co-Conspirator 4 using cash that he kept at a law firm in Mexico. Co-

Conspirator 4 continued to ask RENDON to make payments related to the Financial Institution 1

contract.

Payments to Co-Conspirator 6

56. In late 2021, Co-Conspirator | asked RENDON to hire his adult child, Co-

Conspirator 6. RENDON and Co-Conspirator 6 began discussing a purported consulting

agreement between Co

~Conspirator 6 and Rendon Company 1. RENDON and Co-Conspirator 6

reached a verbal agreement that RENDON would pay Co-Conspirator 6 $2,000 per month for

purported consulting services. RENDON understood that the purpose of the contract with Co-

Conspirator 6 was to pay the remainder of the money that RENDON owed to Co-Conspirator 1

under the Financial Institution 1 contract.

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57. On November IK 2021 , RENDON met Co-Conspirator 6 at a restaurant in Laredo,

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Texas, to discuss the purported consulting agreement. At the meeting, RENDON gave Co-
Conspirator 6 a check in the amount of $2,000, with the memo line, “Consulting,” payable to Co-
Conspirator 6’s company, CC6 Company 1. RENDON and Co-Conspirator 6 had not entered into
any written contract as of that date.

38. In January 2022, RENDON was served with a federal grand jury subpoena seeking
documents and information relating to the above-described conduct. Because of that subpoena,
RENDON did not make any further payments to Co-Conspirator 6.

59. After the payment of $2,000 to Co-Conspirator 6 on November aX 2021, RENDON Av
understood that he still owed then, and still owes today, money to Co-Conspirator 1 related to th& Ee
Financial Institution 1 contract.

60. During the entire time RENDON received payments from Affiliate 1, Co-
Conspirator 1 and RENDON did not explicitly discuss any official acts that Co-Conspirator 1
performed on behalf of Co-Conspirator 5 or Financial Institution 1. However, based on the entirety
of the circumstances presented to RENDON, RENDON understood that the payments were the
proceeds of criminal activity. Specifically, RENDON understood that: (a) Co-Conspirator 1
organized and directed the payment scheme by which RENDON funneled money to Co-
Conspirator 1’s spouse; (b) neither Co-Conspirator 2, Co-Conspirator 3, nor RENDON performed
any work in exchange for the payments made by Affiliate 1 on behalf of Financial Institution 1;

(c) U.S. regulatory issues were making it difficult for Financial Institution 1 to find a correspondent
U.S. bank to work with on remittances; and (d) Co-Conspirator 1 was a public official with the
ability to affect U.S. regulatory issues through official action. In light of these circumstances,
among others, RENDON understood that the payments funneled to Co-Conspirator 1 were

proceeds of some form of unlawful activity and that the payments were made in exchange for

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official acts requested of Co-Conspirator 1, or offered by Co-Conspirator 1, to the benefit of
Financial Institution 1.
Breach of Plea Agreement

61.  IfDefendant should fail in any way to fulfill completely all of the obligations under
this Plea Agreement, the United States will be released from its obligations under the Plea
Agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this Plea Agreement, including required financial
information, or if Defendant knowingly withholds evidence or is otherwise not completely truthful
with the United States, then the United States may move the Court to set aside the guilty plea and
reinstate prosecution. Any information and documents that have been disclosed by Defendant,
whether prior to or subsequent to this Plea Agreement, and all leads derived therefrom, will be
used against Defendant in any prosecution.

Monetary Penalties, Assets and Financial Disclosures

62. Defendant understands and agrees that monetary penalties will be subject to
immediate enforcement as provided in 18 U.S.C. § 3613 and that monetary penalties will be
submitted to the Treasury Offset Program so that payments to Defendant may be applied to federal
debts.

63. Defendant understands that restitution, forfeiture, and fines are separate
components of sentencing and are separate obligations. Defendant agrees to take all steps
necessary to pass clear title to forfeitable assets to the United States and to assist fully in the
collection of restitution and fines. Subject to the provisions of paragraph 7 above, Defendant
waives the right to challenge in any manner, including by direct appeal or in a collateral

proceeding, any restitution order, any forfeiture orders, and any fines.

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Restitution
64. Defendant agrees to pay full restitution to the victims regardless of the count of
conviction. Defendant agrees to pay full restitution as determined by the Court, regardless of the
resulting loss amount, to all victims harmed by Defendant’s “relevant conduct,” as defined by
U.S.S.G. §1B1.3, including conduct pértaining to any dismissed counts or uncharged conduct, and
regardless of whether such conduct constitutes an “offense” under 18 U.S.C. §§ 2259, 3663 or
3663A. Defendant agrees that restitution imposed by the Court will be due and payable
immediately and that should the Court impose a payment schedule, the payment schedule sets forth
minimum payments and does not foreclose additional collection of restitution.
Forfeiture
65. As part of this plea agreement, Defendant agrees to the following:

(a) to forfeit, via either an administrative or judicial proceeding, a money judgment in an
amount to be determined at sentencing.

(b) to withdraw any claims and petitions for such listed or seized assets, whether in this
proceeding or another proceeding, and to waive notice of administrative proceedings
(including forfeiture, destruction, and abandonment for seized property);

(c) that Defendant agrees to the imposition of a money judgment in the amount determined
at sentencing;

(d) that one or more of the conditions set forth in 21 U.S.C. § 853(p) exists, so that the
forfeiture money judgment may be immediately satisfied via forfeiture of substitute

property; and

(e) to the order of forfeiture becoming final as to Defendant immediately following this
guilty plea or immediately following entry of the forfeiture order, whichever applies.

(f) the government will defer to the Court with respect to any payment schedule regarding

any forfeiture amount owed by Defendant and moreover, will not object should the Court
. determine Defendant may pay any forfeiture amount in installments approved by the Court.

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Fimancial Statement

66. Defendant agrees to truthfully complete under penalty of perjury, within thirty days
of the filing of this Plea Agreement with the Court, a financial statement on a form provided by
the United States and to update the statement within seven days of any material change. Defendant
also agrees to make full disclosure to the United States Probation Office of all current and
anticipated assets in which Defendant has an interest both before sentencing and again before
termination of supervised release or probation, with such disclosures to be shared with the United
States.

67. Defendant further agrees not to dispose or transfer any assets without the prior
written permission of the United States and to authorize the release of all financial information
requested by the United States, including, but not limited to, credit histories and tax returns.
Defendant agrees to discuss and answer any questions by the United States relating to Defendant’s
financial disclosure, including in a deposition or informal debtor exam, whether before or after
sentencing.

Complete Agreement

68. This written Plea Agreement, consisting of 25 pages, including the Plea Agreement
Addendum, constitutes the complete agreement between the United States, Defendant, and his
counsel. No promises or representations have been made by the United States except as set forth
in writing in this Plea Agreement. Defendant acknowledges that no threats have been made against
him and that he is pleading guilty freely and voluntarily because he is guilty.

69. Any modification of this Plea Agreement must be in writing and signed by all

parties.

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Filed at ousbmn , Texas, on (Vln , 2024.

AWS

Defendant

Subscribed and sworn to before me on A luc f , 2024.

NATHAN OCHSNER, Clerk
UNITED STATES DISTRICT CLERK

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Depa States District Clerk

APPROVED:
COREY R. AMUNDSON JENNIFER KENNEDY GELLIE
Chief, Public Integrity Section Executive Deputy Chief
Criminal Division performing the duties of Chief _
U.S. Department of Justice Counterintelligence and Export Control Section

National Security Division
US. "Us ustice
By: <

Marco A. Palmieri
Rosaleen O’Gara
Celia Choy Conia +

Attorneys for the United States Attorney °y th nited States

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA
Case No.

Vv.

FLORENCIO “LENCHO” RENDON,

Lr Gr Gh LO LH Lr Lr

Defendant.

PLEA AGREEMENT ADDENDUM

I have fully explained to Defendant his rights with respect to the Information. I have
reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual and
Policy Statements, and I have fully and carefully explained to Defendant the provisions of those
Guidelines that may apply in this case. I have also explained to Defendant that the Sentencing
Guidelines are only advisory, and the Court may sentence Defendant up to the maximum allowed
by statute per count of conviction. Further, I have carefully reviewed every part of this Plea
Agreement with Defendant. To my knowledge, Defendant’s decision to enter into this Plea

Agreement is an informed and voluntary one.

ST 2-n24

Craig obin— ~~" Date
Attorney for Defendant

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I have consulted with my attorney and fully understand all my rights with respect to the

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Supesednresiadseement against me. My attorney has fully explained and I understand all my rights

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with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
that may apply in my case. J have read and carefully reviewed every part of this Plea Agreement

with my attorney. I understand this Plea Agreement, and I voluntarily agree to its terms.

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Florencio “Lencho” Rendon Date
Defendant

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